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1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     STEVEN STEELE
5
6
                               IN THE UNITED STATES DISTRICT COURT
7
                                 EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,       )
10                                   )                NO. CR. S06-0325 GEB
                Plaintiff,           )
11                                   )                STIPULATION AND
          v.                         )                PROPOSED ORDER
12                                   )
     STEVEN STEELE,                  )
13                                   )
                Defendant.           )
14   ________________________________)
15
            Defendants, through counsel, and the United States of America, through Assistant U.S.
16
     Attorney Jason Hitt, agree that the Status Conference set for January 26, 2007 at 9:00 am be
17
     continued to February 9, 2007 at 9:00 am.
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            In addition, it is agreed that the court should find excludable time from the date of the
19
     last proceeding, pursuant to local rule T-4.
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21
     Respectfully submitted,
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23
     DATED: January 18, 2007                   _/S/__________________________
24                                             Dwight M. Samuel
                                               Attorney for Defendant
25                                             Steven Steele
26
27
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                                                     1
             Case 2:06-cr-00325-JAM Document 29 Filed 01/25/07 Page 2 of 2


1    DATED: January 18, 2007            _/S/__________________________
                                        Gilbert A. Roque
2                                       Attorney for Defendant
                                        Fernando Maloney
3
4    DATED: January 18, 2007            _/S/__________________________
                                        Matt Bockmon
5                                       Attorney for Defendant
                                        Mark Hirschfield
6
7    DATED: January 18, 2007
                                        _/S/__________________________
8                                       Jason Hitt
                                        Assistant United States Attorney
9                                       (Signed per Telephonic authorization)
10
11
           IT IS SO ORDERED.
12
13   Dated: January 24, 2007

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15                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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